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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


CONSTANCE BAGLEY                                        :
                                                        :
         Plaintiff                                      :              CIVIL ACTION NO.:
                                                        :              3:13 CV 1890 (CSH)
vs.                                                     :
                                                        :
YALE UNIVERSITY, DOUGLAS RAE,                           :
EDWARD SNYDER and ANDREW                                :
METRICK, Individually                                   :              OCTOBER 5, 2015
                                                        :
         Defendants                                     :


                           MOTION FOR EXTENSION OF TIME


         The defendants hereby move for an extension of time, up to and including October 13,

2015, to file an objection to the plaintiff’s Motions for Protective Order (see Document No. 135).

The defendants seek this one week extension of time due to the fact that the associate in

undersigned defense counsel’s office who has been assisting in drafting the objection has recently

been on paternity leave and this additional time is needed in order to research the facts and law

necessary to draft a proper response to the motion.

         Plaintiff’s counsel has indicated that she does not object to the granting of this motion.

This is the defendants’ first such request for an extension of time.
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                                                       THE DEFENDANTS
                                                       YALE UNIVERSITY, DOUGLAS RAE,
                                                       EDWARD SNYDER and ANDREW
                                                       METRICK, Individually


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)
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                                                     Donahue, Durham & Noonan, P.C.
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                                                     Guilford, CT 06437
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                        Patrick M. Noonan




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